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MEDINA LAW FIRM LLC
641 Lexington Avenue
Thirteenth Floor
New York, NY 10022
Tel. (212) 404-1742
Fax. (888) 833-9534
Proposed Attorneys to JCV Group, LLC.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                         Case No. 19-13563-mg

      JCV GROUP, LLC,                                          Chapter 11


                Debtor-in-Possession

              DECLARATION IN SUPPORT OF RETENTION OF
      MEDINA LAW FIRM LLC AS COUNSEL FOR DEBTOR NUNC PRO TUNC
                       TO THE PETITION DATE

I, ERIC S. MEDINA, ESQ., pursuant to 28 U.S.C. §1746 declare as follows:

         1.       I am an attorney at law, duly qualified and licensed to practice before this Court.

I am also member of the bar of the Supreme Court of the United States, the United States District

Court for the Southern District of New York, the United States Tax Court, the Federal and State

Bars of the States of New Jersey, New York and Florida.

         2.       I make this declaration (“Declaration”) in support of the Debtor’s Application to

retain MEDINA LAW FIRM LLC as counsel to JCV Group, LLC (“JCV” or “Debtor”) in the above

captioned chapter 11 case nunc pro tunc to the Petition Date (the “Application”).1 Unless

otherwise stated, I have personal knowledge of the facts set forth herein and if required could

and would testify competently hereto.



         1
         Capitalized terms not otherwise herein defined have the meanings ascribed in the
Application.


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         3.     I am the managing member of MEDINA LAW FIRM LLC (the "Firm") and am the

attorney principally responsible for the oversight of the Debtor’s case at my Firm. The Firm is

comprised of attorneys and staff based primarily in New York, New York. The Firm practices

primarily in the area of bankruptcy restructuring and creditors rights and complex commercial

litigation in State and Federal Courts. In addition to serving a number of larger businesses and

individuals, the Firm regularly acts as counsel to small and midsized businesses in the New York

metropolitan area.

         4.     The Firm, its attorneys and counsel are experienced in matters of bankruptcy,

insolvency, corporate reorganization and debtor/creditor law, intellectual property law, and in the

representation of debtors, creditors, creditors' committees, and trustees in cases under the

Bankruptcy Code. The Firm and its attorneys and staff are well qualified to represent debtors,

creditors, creditors' committees and trustees in such matters.

         5.     Neither I, the Firm, nor its attorneys, counsel or staff, or present contractors

represent or have any connection with any creditor or other party in interest in this case, their

respective attorneys, accountants, the United States Trustee or any person employed in the Office

of the United States Trustee.2 I am not aware of facts that would lead me to conclude that the

Firm is not a "disinterested person" as that term is defined by the Bankruptcy Code. I have read

the foregoing underlying application and to the best of my knowledge all the facts stated therein




         2
         In making this assessment, the Firm has taken into account its Of-Counsel relationship
with Ann Marie Sinisi, Esq., who maintains an Of-Counsel relationship with the Firm and who is
a law partner of John S. Pereira, Esq. Mr. Pereira is formerly a member of the panel of Chapter 7
Trustees in the Southern District of New York. Mr. Pereira’s membership on the panel does not
render the Firm not disinterested nor does it create adversity as between any party-in-interest in
this proceeding.


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are true and correct. In making the foregoing assessment and statements, the Firm has conducted

a search of its current and former client database.3

         6.        Prior to the Petition Date, the Firm rendered services to the Debtor in connection

with its restructuring efforts and in preparation for this case. Prior to the Petition Date, for

services rendered, the Firm received advance payment retainers in the aggregate amount of

$38,730.00. Of this amount, $21,450.00 was expended in legal fees and $1,859.24 in costs,

which is inclusive of the filing fee paid to the Clerk of Court in connection with commencement

of this case. These funds were received from the Debtor.

             Transaction              Date                       Amount Requested

      Advance Payment               10/24/19                         $10,000.00

    Statement of Services           11/04/19                         $13,730.74
          Rendered
   Advance Payment from             11/05/19                           $7,500
           Debtor
    Advance Payment on                                               $21,380.00
      Debtor’s Behalf4
    Statement of Services           11/06/19                         $9,578.50
          Rendered
         7.        As of the Petition Date, the Firm held a positive earned retainer balance of

$15,420.76 which the Firm will apply following the entry of an order allowing its first fee

application by the Court.

         8.        Except as set forth herein, the Firm has not in the past represented nor does the

Firm in the future plan to represent any related debtor or creditor of the Debtor or its principals.

         3
         This search includes, pursuant to N.Y. DR 5-105, a search conducted by two attorneys
with the Firm who maintain an Of-Counsel relationship with the Firm.
         4
         Payment was made by David Maleh, the Debtor’s CEO on behalf of the Debtor. Mr.
Maleh has acknowledged that the Firm does not represent him and only represents the Debtor
and has further embodied such acknowledgment in a Declaration incorporating the dictates of In
re Lar Dan, 221 B.R. 93 (Bankr. S.D.N.Y. 1998)


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         9.     A schedule of the current hourly billing rates charged for the Firm’s personnel is

as follows:

         Eric S. Medina, Esq.                          $585.00 per hour
         John Pereira, Esq.                            $585.00 per hour
         Ann Marie Sinisi, Esq.                        $550.00 per hour
         Paraprofessionals                             $150.00 per hour
         Law Clerks                                    $100.00 per hour

         10.    A copy of the Firm’s and the Debtor’s engagement letter agreement is attached as

Schedule “1,” hereto.

         11.    The Firm has not shared or agreed to share compensation received from the

Debtor with any other entity or person.

         12.    The Firm’s attorneys, counsel and staff are familiar with the Bankruptcy Code,

the Federal Rules of Bankruptcy Procedure, the Local Bankruptcy Rules, and the requirements of

the United States Trustee and shall comply with them.

         I affirm that foregoing is true and correct, I am aware that if any of the foregoing is

willfully false, I am subject to punishment.



                                                 By:    /s/ Eric S. Medina
                                                        Eric S. Medina, Esq.
Dated: November 20, 2019




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                           SCHEDULE “1”
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                           Debtors Application (Declaration in Support) Pg 6 of 9
                                MEDINA LAW FIRM LLC
641 LEXINGTON AVENUE                   A Limited Liability Company                                    1 P a rk S t re e t
THIRTEENTH FLOOR                            www.medinafirm.com                                                  S ui t e 3
N E W Y O R K , NY 1 0 0 2 2                                                     H a r ri ng t o n P a r k , N J 0 7 6 4 0
Telephone: (212)-404-1742                                                                 Telephone: (201)-255-5900
Facsimile: (888)-833-9534                                                                  Facsimile: (888)-833-9534

                                                                                                     Writer's Email:
                                                                                         emedina@medinafirm.com
Eric S. Medina, Esq.º
                                                                                       ºMember NY, NJ & FL Bars




                                               October 8, 2019

       VIA ELECTRONIC MAIL DELIVERY ONLY
       JCV Group, LLC
       c/o Mr. David Maleh
       65 West 37th Stre et
       Suite 300
       New York, New York 10018


       Re:      Restructuring Advice: JCV Group LLC

       Dear David:

               We are pleased that you wish to engage MEDINA LAW FIRM LLC (the Firm ) to
       represent JCV Group LLC d/b/a JCV Brands (referred to as, Client ) in connection with its
       restructuring and possible chapter 11 bankruptcy proceedings. This letter is intended to set forth
       our understanding as to the nature and scope of the legal services we have agreed to render for
       the Client, amount of our fees for these services, the manner in which our fees for these services
       will be determined and the terms upon which the Client will make payment of these fees and any
       costs advanced on the Client s behalf.

       A.       Scope of Engagement.

               The Firm shall proceed to represent the Client in connection with restructuring advice
       contemplating, as necessary, a voluntary petition under Chapter 11 of the Bankruptcy Code
       before the United States Bankruptcy Court for the Southern District of New York and in all of its
       financial affairs relative to its debt restructuring (the Engagement ). This representation is
       limited to the Client and does not include representation of any officers, shareholders, directors
       or individual guarantors. Nor does the scope of this Engagement include representation of the
       Client in any other proceedings or subsequently filed litigation, unless covered by a separately
       executed engagement letter.




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B.       Fees.

        We have agreed to undertake the Engagement based upon an initial retainer of
$17,500.00 ( Retainer ) to be paid upon execution of this engagement letter. The Retainer is
designed to reserve our time for services in connection with this matter. The aforesaid retainer
shall be deemed "earned" upon receipt and applied at our then existing standard hourly billing
rates. Hourly rates are currently as follows:

         Eric S. Medina, Esq.                 $585.00 per hour
         John Pereira, Esq.                   $585.00 per hour
         Ann Marie Sinisi, Esq.               $550.00 per hour
         Paraprofessionals                    $150.00 per hour
         LawClerks                            $100.00 per hour

        Client understands that, on a case by case basis, the Firm may engage other attorneys
working with the Firm on an as needed basis. Our hourly rates are generally adjusted on or
about January 1 of each year. You understand that you will be charged at whatever hourly rate is
in effect at the time of the service. You also understand that it is impossible to determine the
total amount of attorne s fees at this time. In connection with the Engagement, the Retainer is
calculated to cover initial preparation of papers and pleadings; however it is anticipated that
additional retainer funds will be paid by Client prior to commencing a voluntary bankruptcy
petition to the Firm such that Firm shall hold a $25,000 retainer upon commencement.

C.       Costs.

         In connection with our representation of the Client, we anticipate that certain expenses
will be incurred in advance on the Client s behalf. These e penses include, but are not limited
to, filing fees of $1,213.00, recording costs, delivery charges, telecopy charges, photocopies,
special postage, computer research charges, court reporter expenses (including cost of transcripts
and court reporter fees for attendance), court costs (such as filing fees, service of process,
newspaper publication, subpoena costs, witness fees and recordings) and appraisal fees, fees and
expenses of experts necessary to assist in the preparation and hearing of the case and
investigative costs. In addition to our fees for legal services, the Client agrees to pay us for such
out of pocket expenditures.

       It is anticipated that during the course of our representation, it will be necessary to engage
the services of third party vendors to complete certain large copy, publication and mailing
requirements. The Client agrees either to undertake these costs directly from the vendor, or
provide the Firm with advance payment of these costs.




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D.       Payment of Fees and Costs.

        Unless the Firm and the Client reach another agreement, in writing, regarding payment of
fees and costs, the Client understands that non-payment of any invoice for fees and costs which
is rendered to the Client in accordance with the terms of this letter will constitute a default by the
Client and we may, in our sole and absolute discretion (subject to court approval, if necessary)
cease to provide further legal services to you, and will seek to withdraw from any formal
representation of the Client in any pending legal action. The Client will, however, be liable to us
for the payment of any fees earned and any costs incurred by us up to that time. Client further
agrees that to the extent that the Firm is forced to take legal action to collect any outstanding fees
or costs owed to the Firm, that the Firm will be entitled to reasonable attorne s fees and costs
therefore, in addition to reasonable rate of interest as set forth for the calculation of interest
against judgments in New York.

        The Client understands that we have the right to retain any and all files, papers and other
property coming into our possession in connection with our Engagement without any liability to
you until we have been paid all costs, fees and interest due us under this Agreement. The Client
also agrees to the imposition of a charging lien for any money due us on all real and personal
property that is preserved, protected, or obtained as the result of the representation undertaken
herein.

E.              Acknowledgment of Advises.

        While this paragraph is certainly not totally inclusive, this will acknowledge the fact that
the following matters have been discussed and explained to the Client: the duties and obligations
of a Debtor-in-Possession; the effect and imposition of the bankruptcy automatic stay upon the
filing of a Chapter 11 petition; the strict prohibition against paying pre-petition unsecured
creditors; the ability to reject or assume unexpired lease obligations and executory contracts, and
the corresponding claims resulting therefrom; any and all potential preference liability issues
concerning salaries and pre-petition management fees; insider transactions; use of cash
collateral; ordinar course business transactions; court approval for sales of property out of the
ordinary course of business; adequate protection; post-petition financing; the post-petition
exclusivity period for the Debtor to file its Plan of Reorganization or 180 days as the applicable
in the event the Debtor's case is a small business debtor case and the Court s discretion to reduce
or lengthen said time period; the ability of creditors and parties in interest to file competing Plans
of Reorgani ation upon the e piration of the Debtor s e clusive period; issues regarding
classification, cram-down and the absolute priority rule/new value exception; the general
requirements for confirming a Plan of Reorganization; the ability of creditors and parties in
interest to file a Motion to Dismiss or Convert to a Chapter 7 liquidation or to appoint an
Examiner or Trustee to operate the Business.




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  F.              Disclaimer of Guarantees.

       You acknowledge that we have not made any guarantees regarding the outcome of our
representation, and any expressions relative to it are only our opinion as attorneys. The scope of
our engagement is limited to that which is set forth under paragraph (B) above. We will not
render any opinions or give advice in regard to the law of any jurisdiction other than the state of
New York and Federal Law.

G.                Future Cooperation.

        In order to most effectivel represent the Client, e ill need the Client s future
cooperation in responding accurately and within a reasonable period of time to any and all of our
inquiries, including with regard to information in connection with the preparation and filing of
the Chapter 11 Statement of Financial Affairs and Schedules, and any other information we will
need on a going forward basis. Client warrants that in all communications with the Firm the
information provided shall be truthful and is the by-product of the Client s good faith effort to
ascertain the truthfulness of all information.

        If this agreement is acceptable, please execute where indicated, and return it to this office
with a check or by wire representing the Retainer.

       Once again, we look forward to working with you. I hope that you will let me know if at
any time you feel that the services the Firm is rendering or the manner or promptness with which
the Firm responds to your requests for service, can be improved. On behalf of MEDINA LAW
FIRM LLC, I would like to sincerely thank you for allowing us to serve JCV Group LLC.

                                              Very truly yours,

                                              MEDINA LAW FIRM LLC



                                              Eric S. Medina, Esq.


AGREED AND ACCEPTED BY JCV Group LLC



By:__________________________
      Mr. David Maleh
      Authorized Agent

Dated:        10/10/19




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